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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                      )
                                            )
LEO TIGUE,                                  )
                      Debtor,               )       Case No.: 19-30460
                                            )       Chapter 13
                                            )

                        DEBTORS’ OBJECTION TO
                MOTION FOR RELEIF FROM AUTOMATIC STAY


         Comes now Debtor, LEO TIGUE, and hereby submits his answers as follows:

   1. Debtor admits the allegation contained in paragraph 1.

   2. Debtor admits the allegation contained in paragraph 2.

   3. Debtor neither admits nor denies the allegation contained in paragraph 3.

   4. Debtor admits the allegation contained in paragraph 4.

   5. Debtor neither admits nor denies the allegation contained in paragraph 5.

   6. Debtor admits the allegation contained in paragraph 6.

   7. Debtor neither admits nor denies the allegation contained in paragraph 7.

   8. Debtor neither admits nor denies the allegation contained in paragraph 8.

   9. Debtor admits the allegation contained in paragraph 9.

   10. Debtor denies the allegation contained in paragraph 10.


   WHEREFORE, Debtor hereby prays that this Honorable Court deny Regions Bank’s
Motion for Relief from Automatic Stay.
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                                                    By:/s/J.D. GRAHAM
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                             CERTIFICATE OF SERVICE

       Come now Debtor, LEO TIGUE, by and through his attorney, and certifies that on

October 23, 2019, via first-class mail, postage prepaid, a true and accurate copy of

Debtors Answer to Motion for Relief from Automatic Stay was served upon the

following people that were not served electronically:

Russell C. Simon
Chapter 13 Trustee
24 Bronze Pointe
Swansea, IL 62226

U.S. Trustee
Becker Building, Ste. 1100
401 Main St.
Peoria, IL 61602

William Asa
Mathis, Marifian & Richter, Ltd.
101 Vandalia St., Ste. 100
Edwardsville IL 62025
                                                    /s/ Tim Martie
